 $2 5HY
              Case
               Case 6XPPRQVLQD&LYLO$FWLRQ0,:'
                       1:21-cv-00757-PLM-SJB
                        1:21-cv-00757-PLM-SJB          5HY
                                                                ECF
                                                                ECFNo.
                                                                    No.10,
                                                                       6,                           PageID.115
                                                                                                    PageID.134 Filed
                                                                                                               Filed08/30/21
                                                                                                                     09/01/21 Page
                                                                                                                              Page11of
                                                                                                                                     of44

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
  Emily Dahl, Hannah Redoute, Bailey Korhorn, and
                  Morgan Otteson                                                                                &DVH1R 1:21-cv-00757
                                                                                                                +RQ       Paul L. Maloney

                                                                                               72 The Board of Trustees of Western Michigan University
                                   Y
                                                                                          $''5(66 1903 W. Michigan Ave.
The Board of Trustees of Western Michigan University,                                                     Kalamazoo, MI 49008
Edward Montgomery, Kathy Beauregard, and Tammy
                      L. Miller


                                                                                                    3/$,17,))253/$,17,))¶6$77251(<1$0($1'$''5(66
 $ODZVXLWKDVEHHQILOHGDJDLQVW\RX
                                                                                                      David A. Kallman
                                                                                                      5600 W. Mount Hope Hwy.
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      Lansing, MI 48917
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
 RUPRWLRQZLWKWKH&RXUW
 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

  )HGHUDO%XLOGLQJ0LFKLJDQ6W1:*UDQG5DSLGV0,
  32%R[)HGHUDO%XLOGLQJ0DUTXHWWH0,
     )HGHUDO%XLOGLQJ:0LFKLJDQ$YH.DODPD]RR0,
     )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,

                                                                                                                                                                       August 30, 2021
                                                                                                      %\'HSXW\&OHUN                                                     'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU The Board of Trustees of Western Michigan University ZDVUHFHLYHGE\PHRQ                                                                                         
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                              DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                        
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                           
 X 2WKHU (specify) I served Michael S. Bogren, Attorney for Defendants, by e-mail, and he has filed an acknowledgement
                   of service.
       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                     
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
          08/31/2021                                                                                                        /s/ David A. Kallman
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                           David A. Kallman, Attorney for Plaintiffs
                                                                                                                              Server’s printed name and title

                                                                                                      5600 W. Mount Hope Hwy., Lansing, MI 48917
                                                                                                                                   Server’s address
 $2 5HY
              Case
               Case 6XPPRQVLQD&LYLO$FWLRQ0,:'
                       1:21-cv-00757-PLM-SJB
                        1:21-cv-00757-PLM-SJB          5HY
                                                                ECF
                                                                ECFNo.
                                                                    No.10,
                                                                       6,                           PageID.116
                                                                                                    PageID.135 Filed
                                                                                                               Filed08/30/21
                                                                                                                     09/01/21 Page
                                                                                                                              Page22of
                                                                                                                                     of44

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
  Emily Dahl, Hannah Redoute, Bailey Korhorn, and
                  Morgan Otteson                                                                                &DVH1R 1:21-cv-00757
                                                                                                                +RQ       Paul L. Maloney

                                                                                               72 Edward Montgomery, President of WMU
                                   Y
                                                                                          $''5(66 1903 W. Michigan Ave.
The Board of Trustees of Western Michigan University,                                                     Kalamazoo, MI 49008
Edward Montgomery, Kathy Beauregard, and Tammy
                      L. Miller


                                                                                                    3/$,17,))253/$,17,))¶6$77251(<1$0($1'$''5(66
 $ODZVXLWKDVEHHQILOHGDJDLQVW\RX
                                                                                                      David A. Kallman
                                                                                                      5600 W. Mount Hope Hwy.
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      Lansing, MI 48917
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
 RUPRWLRQZLWKWKH&RXUW
 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

  )HGHUDO%XLOGLQJ0LFKLJDQ6W1:*UDQG5DSLGV0,
  32%R[)HGHUDO%XLOGLQJ0DUTXHWWH0,
     )HGHUDO%XLOGLQJ:0LFKLJDQ$YH.DODPD]RR0,
     )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,

                                                                                                                                                                       August 30, 2021
                                                                                                      %\'HSXW\&OHUN                                                     'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                  Edward Montgomery, President of WMU                                            ZDVUHFHLYHGE\PHRQ                                              
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                              DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                        
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                           
X 2WKHU (specify) I served Michael S. Bogren, Attorney for Defendants, by e-mail, and he has filed an acknowledgement
                  of service.
       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                     
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
          08/31/2021                                                                                                        /s/ David A. Kallman
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                           David A. Kallman, Attorney for Plaintiffs
                                                                                                                              Server’s printed name and title

                                                                                                      5600 W. Mount Hope Hwy., Lansing, MI 48917
                                                                                                                                   Server’s address
 $2 5HY
              Case
               Case 6XPPRQVLQD&LYLO$FWLRQ0,:'
                       1:21-cv-00757-PLM-SJB
                        1:21-cv-00757-PLM-SJB          5HY
                                                                ECF
                                                                ECFNo.
                                                                    No.10,
                                                                       6,                           PageID.117
                                                                                                    PageID.136 Filed
                                                                                                               Filed08/30/21
                                                                                                                     09/01/21 Page
                                                                                                                              Page33of
                                                                                                                                     of44

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
  Emily Dahl, Hannah Redoute, Bailey Korhorn, and
                  Morgan Otteson                                                                                &DVH1R 1:21-cv-00757
                                                                                                                +RQ       Paul L. Maloney

                                                                                               72 Kathy Beauregard, WMU Athletic Director
                                   Y
                                                                                          $''5(66 1903 W. Michigan Ave.
The Board of Trustees of Western Michigan University,                                                     Kalamazoo, MI 49008
Edward Montgomery, Kathy Beauregard, and Tammy
                      L. Miller


                                                                                                    3/$,17,))253/$,17,))¶6$77251(<1$0($1'$''5(66
 $ODZVXLWKDVEHHQILOHGDJDLQVW\RX
                                                                                                      David A. Kallman
                                                                                                      5600 W. Mount Hope Hwy.
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      Lansing, MI 48917
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
 RUPRWLRQZLWKWKH&RXUW
 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

  )HGHUDO%XLOGLQJ0LFKLJDQ6W1:*UDQG5DSLGV0,
  32%R[)HGHUDO%XLOGLQJ0DUTXHWWH0,
     )HGHUDO%XLOGLQJ:0LFKLJDQ$YH.DODPD]RR0,
     )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,

                                                                                                                                                                       August 30, 2021
                                                                                                      %\'HSXW\&OHUN                                                     'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                  Kathy Beauregard, WMU Athletic Director                                        ZDVUHFHLYHGE\PHRQ                                              
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                              DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                        
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                           
 X 2WKHU (specify) I served Michael S. Bogren, Attorney for Defendants, by e-mail, and he has filed an acknowledgement
                   of service.
       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                     
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
          08/31/2021                                                                                                        /s/ David A. Kallman
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                           David A. Kallman, Attorney for Plaintiffs
                                                                                                                              Server’s printed name and title

                                                                                                      5600 W. Mount Hope Hwy., Lansing, MI 48917
                                                                                                                                   Server’s address
 $2 5HY
              Case
               Case 6XPPRQVLQD&LYLO$FWLRQ0,:'
                       1:21-cv-00757-PLM-SJB
                        1:21-cv-00757-PLM-SJB          5HY
                                                                ECF
                                                                ECFNo.
                                                                    No.10,
                                                                       6,                           PageID.118
                                                                                                    PageID.137 Filed
                                                                                                               Filed08/30/21
                                                                                                                     09/01/21 Page
                                                                                                                              Page44of
                                                                                                                                     of44

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
  Emily Dahl, Hannah Redoute, Bailey Korhorn, and
                  Morgan Otteson                                                                                &DVH1R 1:21-cv-00757
                                                                                                                +RQ       Paul L. Maloney

                                                                                               72 Tammy L. Miller, Associate Dir. of Institutional Equity
                                   Y
                                                                                          $''5(66 1903 W. Michigan Ave.
The Board of Trustees of Western Michigan University,                                                     Kalamazoo, MI 49008
Edward Montgomery, Kathy Beauregard, and Tammy
                      L. Miller


                                                                                                    3/$,17,))253/$,17,))¶6$77251(<1$0($1'$''5(66
 $ODZVXLWKDVEHHQILOHGDJDLQVW\RX
                                                                                                      David A. Kallman
                                                                                                      5600 W. Mount Hope Hwy.
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      Lansing, MI 48917
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
 RUPRWLRQZLWKWKH&RXUW
 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

  )HGHUDO%XLOGLQJ0LFKLJDQ6W1:*UDQG5DSLGV0,
  32%R[)HGHUDO%XLOGLQJ0DUTXHWWH0,
     )HGHUDO%XLOGLQJ:0LFKLJDQ$YH.DODPD]RR0,
     )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,

                                                                                                                                                                       August 30, 2021
                                                                                                      %\'HSXW\&OHUN                                                     'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU             Tammy L. Miller, Associate Dir. of Institutional Equity                             ZDVUHFHLYHGE\PHRQ                                              
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                              DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                        
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                           
X 2WKHU (specify) I served Michael S. Bogren, Attorney for Defendants, by e-mail, and he has filed an acknowledgement
                  of service.
       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                     
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
          08/31/2021                                                                                                        /s/ David A. Kallman
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                           David A. Kallman, Attorney for Plaintiffs
                                                                                                                              Server’s printed name and title

                                                                                                      5600 W. Mount Hope Hwy., Lansing, MI 48917
                                                                                                                                   Server’s address
